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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION
 ERICA LEIGH WOOLDRIDGE,                   )
                                           )
       Petitioner,                         )
                                           )
 v.                                        )    Case No. 7:20-cv-1583-ACA-GMB
                                           )
 CHAD GARRETT,                             )
                                           )
       Respondent.                         )

                           MEMORANDUM OPINION
      Petitioner Erica Leigh Wooldridge filed this 28 U.S.C. § 2241 petition for a

writ of habeas corpus, along with a motion for preliminary injunction and temporary

restraining order.    (Doc. 1).     The magistrate judge recommended denying

Ms. Wooldridge’s petition and her motion for a preliminary injunction and

temporary restraining order. (Doc. 7). Although the magistrate judge advised

Ms. Wooldridge of her right to file specific objections within fourteen days, the court

has not received any objections.

      Having carefully reviewed and considered de novo all of the materials in the

court file, including the report and recommendation, the court ADOPTS the

magistrate judge’s report and ACCEPTS his recommendation. Accordingly, the

court WILL DENY Ms. Wooldridge’s § 2241 petition and her                   motion for

preliminary injunction and temporary restraining order.

      The court will enter a separate final order consistent with this opinion.
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DONE and ORDERED this October 25, 2021.



                          _________________________________
                          ANNEMARIE CARNEY AXON
                          UNITED STATES DISTRICT JUDGE
